                                             U.S. Department of Justice

                                                 United States Attorney
                                                 Eastern District of Wisconsin
                                                 517 East Wisconsin Avenue       414 / 297-1700

                                                 Milwaukee, WI 53202




                                           March 2, 2009




Honorable Rudolph T. Randa
Chief United States District Judge
310 U.S. Courthouse
517 E. Wisconsin Ave.
Milwaukee, WI 53202

      Re:    United States v. Jerry Walker, Case No. 96-CR-004

Dear Judge Randa:

      I am an receipt of Mr. Walker’s letter of February 1, 2009. I’m not sure it needs a
response but I am in favor of the Court granting his request.

                                           Very truly yours,

                                           MICHELLE L. JACOBS
                                           Acting United States Attorney

                                     By:

                                           s/JOSEPH R. WALL
                                           Assistant United States Attorney
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                                           Attorney for Plaintiff
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